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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CASIMIRO JOSE CANHA CAVACO                           Case No. 24-cv-04471-EMC
                                         DIAS,
                                   8
                                                         Plaintiff,                           ORDER RE VISITATIONS – PHASE 2
                                   9
                                                  v.
                                  10
                                         RULA NABIL KHOURY CAVACO DIAS,
                                  11
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14           The Court has reviewed the summaries of the Phase 2 visitations (October 16, 17, and 20).

                                  15   It appears that not all permitted visits took place, likely due in part to Petitioner’s travel to the

                                  16   United States. The Court permits transition to Phase 3 (i.e., video visits and one in-person visit

                                  17   during the week and in-person visits on the weekend). See Docket No. 98 (Order at 2).

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                                  19           IT IS SO ORDERED.

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                                  21   Dated: October 22, 2024

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                                  23                                                      ______________________________________
                                                                                           EDWARD M. CHEN
                                  24                                                       United States District Judge
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